 

TENNESSEE DEPARTMENT OF CORRECTION
DIVISION OF ADMINISTRATIVE SERVICES
CERTIFICATION DOCUMENTATION

PLEASE ATTACH THIS CERTIFICATE PERMANENTLY TO ALL RECORDS
(U.S. Rev. Statutes, Sec. 906. Attestation by Legal Keeper of Records)

STATE OF TENNESSEE

countyor Pavia so a/
iF Wigrre A/S / G4 EQ hereby certify: That | am the

— of Official Custodian)

Cpu CF
L iran pers” Til of the Tennessee Department of Correction

(Official pe
situated in the County and State aforesaid; that in my legal custody as such officer are the original files and records of persons

heretofore committed to the Tennessee Department of Correction. The attached hereto are copies of the original records,

excepting as non-original, however, any third-party documents the Department has received from the original source, which

may appear herein, of

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a person heretofore committed to the Tennessee Department of Correction and who served a term of imprisonment therein;
that | have compared the foregoing and attached copies with their respective originals and third party documents now on file in

my office and each thereof contains, and is, a full, true and correct transcript and copy from its said original.

 

 

 

 

 

 

IN WITNESS WHEREOE. Jugs hereunto set my hand this C!] day of 20 2/
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“s/h PNW ae Official Title
ON Expires '
STATE OF TENNESSEE
COUNTY OF DAVIDSON
Sworn and subscribed to before me this! _day of __ OCKOQ4— ,20 71.

My Commission Expires: “7 ). GepoT

~ Notary Public

Duplicate as Needed

Case 3:21-cv-00721 Document 15-4 Filed 11/02/21 Page 1 of 19 PagelD #: 198
SAFEKEEPER Monthly Assessment Report

 

 

 

 

 

 

 

 

 

 

 

ASSESSMENT:
Inmates Name: FRIEDMANN ALEXANDER TDOC NO. 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 1/5/1960 TDOC LOCATION: RMSI
PENDING OF FENSE(S): N/A CRIMINAL HISTORY: ATT AGG ROB, ROB ARM
JEAD WEAP, ASS W/INT TO MI
CO-DEFENDANTS: N/A DISCIPLINARY JSSUED: SOLIC OF STAFF
UNAUTH FIN OBLIG/TRAN
SAFEKEEPER: Y MEDICAL CLASS: B MENTAL HEALTH LEVEL: 2
ORDER
INCOMPATIBLES: N/A STG: N/A EDUCATION: N/A

 

 

SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.
Inmate is adjusting to the facility and unit without incident and issues. No problems to report.

 

 

 

UNIT COUNSELOR SIGNATURE:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PANEL RECOMMENDATION: MANDATORY SEGREGATION
PROTECTIVE CUSTODY
CUSTODY LEVEL CLOSE MEDIUM
REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFFENSE
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SAFEKEEPER Monthly Assessment Report

 

 

 

 

 

 

 

 

 

 

 

ASSESSMENT:
Inmates Name: FRIEDMANN ALEXANDER TDOC NO. 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 2/19/2020 TDOC LOCATION: RMSI
PENDING OFFENSE(S): N/A CRIMINAL HISTORY: ATT AGG ROB, ROB ARM
MEAD WEAP, ASS W/INT TO MI
CO-DEFENDANTS: N/A DISCIPLINARY ISSUED: SOLIC OF STAFF
UNAUTH FIN OBLIG/TRAN
SAFEKEEPER: Y MEDICAL CLASS: B MENTAL HEALTH LEVEL: 2
ORDER
INCOMPATIBLES: N/A STG: N/A EDUCATION: N/A

 

SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.
Inmate is adjusting to the facility and unit without incident and issues. No problems to report.

 

 

 

  

 

 

 

 

 

 

 

 

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UNIT COUNSELOR SIGNATURE: le nS DATE: On L1ToOt>
PANEL RECOMMENDATION: MANDATORY SEGREGATION

PROTECTIVE CUSTODY

CUSTODY LEVEL CLOSE MEDIUM
REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFFENSE

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SAFEKEEPER Monthly Assessment Report

 

 

 

 

 

 

 

 

 

 

 

 

ASSESSMENT:
Inmates Name: — FRIEDMANN ALEXANDER TDOC NO. 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 2/19/2020 TDOC LOCATION: RMSI
PENDING OFFENSE(S): N/A CRIMINAL HISTORY: ATT AGG ROB, ROB ARM
)EAD WEAP, ASS W/INT TO Mt
CO-DEFENDANTS: N/A DISCIPLINARY ISSUED: SOLIC OF STAFF
UNAUTH FIN OBLIG/TRAN
SAFEKEEPER: y MEDICAL CLASS: B MENTAL HEALTH LEVEL: 2
ORDER
INCOMPATIBLES: N/A STG: N/A EDUCATION: N/A

 

 

SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.
Inmate is adjusting to the facility and unit without incident and issues. No problems to report.

 

 

 

 

UNIT COUNSELOR SIGNATURE:

 

 

PANEL RECOMMENDATION: MANDATORY SEGREGATION

 

 

 

 

 

PROTECTIVE CUSTODY
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REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFFENSE
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SAFEKEEPER Monthly Assessment Report

 

 

 

 

 

 

 

ASSESSMENT:
Inmates Name: FRIEDMANN ALEXANDER TDOC NO. 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 2/19/2020 TDOC LOCATION: RMSI
PENDING OFFENSE(S): N/A CRIMINAL HISTORY: ATT AGG ROB, ROB ARM
JIEAD WEAP, ASS W/INT TO MI
CO-DEFENDANTS: N/A DISCIPLINARY ISSUED: SOLIC OF STAFF

 

 

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SAFEKEEPER: Y
ORDER

INCOMPATIBLES: "NIA

MEDICAL CLASS: B

MENTAL HEALTH LEVEL: 2

STG: N/A EDUCATION: | N/A

 

SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S

RECOMMENDATION.

 

 

Inmate is adjusting to the facility and unit without incident and issues. No problems to report.

 

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UNIT COUNSELOR SIGNATURE:

PANEL RECOMMENDATION:

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SAFEKEEPER Monthly Assessment Report

 

 

 

 

 

 

 

 

 

 

 

ASSESSMENT:
Inmates Name: FRIEDMANN ALEXANDER TDOC NO. 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 1/5/1960 TDOC LOCATION: RMSI
PENDING OFFENSE(S): N/A CRIMINAL HISTORY: ATT AGG ROB, ROB ARM
JEAD WEAP, ASS W/INT.-TO MI
CO-DEFENDANTS: N/A DISCIPLINARY ISSUED: SOLIC OF STAFF
UNAUTH FIN OBLIG/TRAN
SAFEKEEPER: Y MEDICAL CLASS: B MENTAL HEALTH LEVEL: 2
ORDER
INCOMPATIBLES: N/A STG: N/A EDUCATION: N/A

 

SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.
Inmate is adjusting to the facility and unit without incident and issues. No problems to report.

 

 

 

 

 

 

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PANEL RECOMMENDATION: MO MANDATORY SEGREGATION

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CUSTODY LEVEL CLOSE MEDIUM
REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFFENSE

 

 

 

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ASSESSMENT:
Inmates Name: — FRIEDMANN ALEXANDER TDOC NO. 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 1/5/1960 TDOC LOCATION: RMSI
PENDING OFFENSE(S): N/A CRIMINAL HISTORY: ATT AGG ROB, ROB ARM
EAD. WEAP,-ASS WANT. TO MI
CO-DEFENDANTS: N/A DISCIPLINARY ISSUED: SOLIC OF STAFF
UNAUTH FIN OBLIG/TRAN
SAFEKEEPER: Y MEDICAL CLASS: B MENTAL HEALTH LEVEL: 2
ORDER
INCOMPATIBLES: N/A STG: N/A EDUCATION: N/A

 

SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.
Inmate is adjusting to the facility and unit without incident and issues. No problems to report.

 

 

 

 

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UNIT COUNSELOR SIGNATURE:

 

PANEL RECOMMENDATION: MANDATORY SEGREGATION

PROTECTIVE CUSTODY

CUSTODY LEVEL CLOSE MEDIUM
REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFFENSE

 

 

 

 

 

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ASSESSMENT:
Inmates Name: — FRIEDMANN ALEXANDER TDOC NO. 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 1/5/1960 TDOC LOCATION: RMSI
PENDING OFFENSE(S): N/A CRIMINAL HISTORY: ATT AGG ROB, ROB ARM
JEAD WEAP, ASS W/INT TO MI
CO-DEFENDANTS: N/A DISCIPLINARY ISSUED: SOLIC OF STAFF
UNAUTH FIN OBLIG/TRAN
SAFEKEEPER: Y MEDICAL CLASS: B MENTAL HEALTH LEVEL: 2
ORDER
INCOMPATIBLES: N/A STG: N/A EDUCATION: N/A

 

 

SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.
Inmate is adjusting to the facility and unit without incident and issues. No problems to report.

 

 

 

 

 

 

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REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFFENSE

 

 

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SAFEKEEPER Monthly Assessment Report

 

 

 

 

 

 

 

 

 

 

 

ASSESSMENT:
Inmates Name: FRIEDMANN ALEXANDER TDOC NO. 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 2/19/2020 TDOC LOCATION: RMSI
PENDING OFFENSE(S): N/A CRIMINAL HISTORY: ATT AGG ROB, ROB ARM
IEAD WEAP, ASS W/INT TO Mt
CO-DEFENDANTS: N/A DISCIPLINARY ISSUED:
SAFEKEEPER: Y MEDICAL CLASS: B MENTAL HEALTH LEVEL: 2
ORDER
INCOMPATIBLES: N/A STG: N/A EDUCATION: N/A

 

SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.
Inmate is adjusting to the facility and unit without incident and issues. No problems to report.

 

 

 

 

 

 

 

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PANEL RECOMMENDATION: ~~ MANDATORY SEGREGATION
PROTECTIVE CUSTODY
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REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFFENSE

 

 

 

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SAFEKEEPER Monthly Assessment Report

 

 

 

 

 

 

 

 

 

 

 

 

ASSESSMENT:
Inmates Name: FRIEDMANN ALEXANDER TDOC NO, 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 1/5/1960 TDOC LOCATION: RMSI
PENDING OFFENSE(S): N/A CRIMINAL HISTORY: ATT AGG ROB, ROB ARM
JIEAD WEAP, ASS W/INT TO MI
CO-DEFENDANTS: N/A DISCIPLINARY ISSUED: SOLIC OF STAFF
UNAUTH FIN OBLIG/TRAN
SAFEKEEPER: Y MEDICAL CLASS: B MENTAL HEALTH LEVEL: 2
ORDER
INCOMPATIBLES: N/A STG: N/A EDUCATION: N/A

 

 

SUMMARY OF INMATE'S BEHAVIOR, ADJU STMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.
Inmate is adjusting to the facility and unit without incident and issues. No problems to report.

 

 

 

 

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PANEL RECOMMENDATION: 7A MANDATORY SEGREGATION

PROTECTIVE CUSTODY

CUSTODY LEVEL CLOSE MEDIUM
REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFF ENSE

 

 

 

 

 

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SAFEKEEPER Monthly Assessment Report

 

 

 

 

 

 

 

 

 

 

 

ASSESSMENT:
Inmates Name: FRIEDMANN ALEXANDER TDOC NO. 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 1/5/1960 TDOC LOCATION: RMSI
PENDING OFFENSE(S): N/A CRIMINAL HISTORY: ATT AGG ROB, ROB ARM
JEAD WEAP, ASS W/INT TO MI
CO-DEFENDANTS: N/A DISCIPLINARY ISSUED: SOLIC OF STAFF
UNAUTH FIN OBLIG/TRAN
SAFEKEEPER: Y MEDICAL CLASS: B MENTAL HEALTH LEVEL: 2
ORDER
INCOMPATIBLES: N/A STG: N/A EDUCATION: N/A

 

 

SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.
Inmate is adjusting to the facility and unit without incident and issues. No problems to report.

 

 

 

 

UNIT COUNSELOR SIGNATURE: (*, . LL pre DATE: jaaqy aL)

PANEL RECOMMENDATION: MANDATORY SEGREGATION

PROTECTIVE CUSTODY

CUSTODY LEVEL CLOSE MEDIUM
REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFFENSE

 

 

 

 

 

 

 

 

 

 

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SAFEKEEPER Monthly Assessment Report

 

 

 

 

 

 

 

 

 

 

 

ASSESSMENT:
Inmates Name: — FRIEDMANN ALEXANDER TDOC NO. 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 1/5/1960 TDOC LOCATION: RMSI
PENDING OFFENSE(S): N/A CRIMINAL HISTORY: ATT AGG ROB, ROB ARM
JEAD WEAP, ASS W/INT TO MI
CO-DEFENDANTS: N/A DISCIPLINARY ISSUED: SOLIC OF STAFF
UNAUTH FIN OBLIG/TRAN
SAFEKEEPER: Y MEDICAL CLASS: B MENTAL HEALTH LEVEL: 2
ORDER
INCOMPATIBLES: N/A STG: N/A EDUCATION: N/A

 

SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.
Inmate is adjusting to the facility and unit without incident and issues. No problems to report.

 

 

 

 

UNIT COUNSELOR SIGNATURE: ( 45 - ( DIY pate:_D/ O52 J

PANEL RECOMMENDATION: MANDATORY SEGREGATION

PROTECTIVE CUSTODY

CUSTODY LEVEL CLOSE MEDIUM
REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFFENSE

 

 

 

 

 

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SAFEKEEPER Monthly Assessment Report

 

 

 

 

 

 

 

 

 

 

 

ASSESSMENT:
Inmates Name: FRIEDMANN ALEXANDER TDOC NO. 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 1/5/1960 TDOC LOCATION: RMSI
PENDING OFFENSE(S): N/A CRIMINAL HISTORY: ATT AGG ROB, ROB ARM
MEAD WEAP, ASS W/INT TO Mt
CO-DEFENDANTS: N/A DISCIPLINARY ISSUED: SOLIC OF STAFF
UNAUTH FIN OBLIG/TRAN
SAFEKEEPER: Y MEDICAL CLASS: B MENTAL HEALTH LEVEL: 2
ORDER
INCOMPATIBLES: N/A STG: N/A EDUCATION: N/A

 

SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.
Inmate is adjusting to the facility and unit without incident and issues. No problems to report.

 

 

 

 

 

 

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UNIT COUNSELOR SIGNATURE: (*, LDS DATE: (DaDo>-|
PANEL RECOMMENDATION: (/ MANDATORY SEGREGATION
PROTECTIVE CUSTODY
CUSTODY LEVEL CLOSE MEDIUM
REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFFENSE

 

 

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ea ‘Tennessee Department of Correction
SAFEKEEPER Monthly Assessment Report for Sheriff

 

 

 

 

 

 

 

 

 

 

 

 

Order Basis:
Inmates Name: : Friedmann Alexander TDOC NO. 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 2/19/2020 TDOC LOCATION: RMSI
PENDING OFFENSE(S): Sabotage CRIMINAL HISTORY: Att. Rob, Arm Rob with
“deadly weapon, assault w/intent
CO-DEFENDANTS: Unknown DISCIPLINARY ISSUED: None
MEDICAL CLASS: _B MENTAL HEALTH LEVEL: 2
INCOMPATIBLES: None STG: None EDUCATION: | GED

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SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.
No behavior problems noted or reported by staff in Unit t at RMSI.

 

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PANEL RECOMMENDATION: ¥ MANDATORY SEGREGATION
PROTECTIVE CUSTODY
CUSTODY LEVEL CLOSE MEDIUM

 

REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFFENSE

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SAFEKEEPER Monthly Assessment Report

 

 

 

 

 

 

 

 

 

 

 

ASSESSMENT:
Inmates Name: FRIEDMANN ALEXANDER TDOC NO. 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 1/5/1960 TDOC LOCATION: RMSI
PENDING OFFENSE(S): Sabotage CRIMINAL HISTORY: ATT AGG ROB, ROB ARM
IEAD WEAP, ASS W/INT TO MI
CO-DEFENDANTS: N/A DISCIPLINARY ISSUED: none since arrival
SAFEKEEPER: Y MEDICAL CLASS: B MENTAL HEALTH LEVEL: 2
ORDER
INCOMPATIBLES: N/A STG: . N/A EDUCATION: N/A

 

SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.

Inmate is complaining about food and housing in an iron man cell, UM has addressed stating per Commissioner he must be
housed there. He has attorney phone calls in UM office when scheduled. -

 

 

 

 

UNIT COUNSELOR SIGNATURE: Ak Bice CCS DATE: 2 / 26/ 24
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PANEL RECOMMENDATION: A MANDATORY SEGREGATION
PROTECTIVE CUSTODY
CUSTODY LEVEL CLOSE MEDIUM

REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFFENSE

 

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SAFEKEEPER Monthly Assessment Report for Sheriff

 

 

 

 

 

 

 

 

 

 

Order Basis:
Inmates Name: : Friedmann Alexander TDOC NO. 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 2/19/2020 TDOC LOCATION: RMSI
PENDING OFFENSE(S): Sabotage CRIMINAL HISTORY: Att. Rob, Arm-Rob with
deadly weapon, assault w/intent
CO-DEFENDANTS: Unknown DISCIPLINARY ISSUED: None
MEDICAL CLASS: B MENTAL HEALTH LEVEL: 2
INCOMPATIBLES: None STG: None EDUCATION: GED

 

SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.

 

No behavior problems noted or reported by staff in Unit 1 at RMSI.

 

 

 

UNIT COUNSELOR SIGNATURE: /) ) t Thy DATE: Lb/ af: A

PANEL RECOMMENDATION: v__ MANDATORY SEGREGATION
PROTECTIVE CUSTODY
CUSTODY LEVEL CLOSE MEDIUM

REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFFENSE

 

 

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# Tennessee Department of Correction
SAFEKEEPER Monthly Assessment Report for Sheriff

 

 

 

 

 

 

 

 

 

 

Order Basis:
Inmates Name: : Friedmann Alexander TDOC NO. 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 2/19/2020 TDOC LOCATION: RMSI
PENDING OFFENSE(S): Sabotage CRIMINAL HISTORY: Att. Rob, Arm Rob with
deadly weapon, assault w/intent
CO-DEFENDANTS: Unknown DISCIPLINARY ISSUED; None
MEDICAL CLASS: B MENTAL HEALTH LEVEL: 2
INCOMPATIBLES: None STG: None EDUCATION: GED

 

SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.
No behavior problems noted or reported by staff in Unit 1 at RMSI.

 

 

 

 

UNIT COUNSELOR SIGNATURE: LZ), AV DATE: OBE

PANEL RECOMMENDATION: v’ _MANDATORY SEGREGATION
PROTECTIVE CUSTODY
CUSTODY LEVEL CLOSE MEDIUM

REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFFENSE

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« ‘Tennessee Department of Correction
SAF EKEEPER Monthly Assessment Report for Sheriff

 

 

 

 

 

 

 

 

 

 

 

 

 

Order Basis:
Inmates Name: : Friedmann Alexander TDOC NO. 135616
Last First Middle
DATE OF ARRIVAL IN TDOC: 2/19/2020 TDOC LOCATION: RMSI
PENDING OFFENSE(S): Sabotage CRIMINAL HISTORY: Att. Rob, Arm Rob with
deadly weapon, assault w/intent
CO-DEFENDANTS: Unknown DISCIPLINARY ISSUED: None
MEDICAL CLASS: B MENTAL HEALTH LEVEL: 2
INCOMPATIBLES: None STG: None EDUCATION: GED

SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.
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UNIT COUNSELOR SIGNATURE: Ly) Bes DATE: £/ F/. aA /: AL
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PANEL RECOMMENDATION: v__ MANDATORY SEGREGATION
PROTECTIVE CUSTODY
CUSTODY LEVEL CLOSE MEDIUM

REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFFENSE

 

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"Sj" Tennessee Department of Correction
SAFEKEEPER Monthly Assessment Report for Sheriff

 

 

 

 

 

 

 

 

 

 

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SUMMARY OF INMATE'S BEHAVIOR, ADJUSTMENT, MEDICAL CONDITION, VISITS AND COUNSELOR'S
RECOMMENDATION.
No behavior problems noted or reported by staff in Unit 1 at RMSI.

UNIT COUNSELOR SIGNATURE: LD, fo. DATE: la, Ga. XL Ae

PANEL RECOMMENDATION: MANDATORY SEGREGATION
PROTECTIVE CUSTODY
CUSTODY LEVEL CLOSE MEDIUM

 

 

 

 

 

REASON: BASIS OF SAFEKEEPING AND NATURE OF PENDING OFFENSE

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